             Entered on Docket April 20, 2021

                                                         Below is the Order of the Court.
 1

 2                                                       _____________________
                                                         Mary Jo Heston
 3
                                                         U.S. Bankruptcy Judge
 4                                                       (Dated as of Entered on Docket date above)


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         ________________________________________________________________
 7
                    UNITED STATES BANKRUPTCY COURT
 8
                   WESTERN DISTRICT OF WASHINGTON AT TACOMA
 9
10   In re                                           Chapter 13
11   SARAH HOOVER,                                   Case No.: 19-42890-MJH
12
                     Debtor.                         Adversary No.: 20-04002-MJH
13
     SARAH HOOVER,                                   ORDER RESCINDING TRUSTEE’S SALE
14

15                   Plaintiff,

16           vs.

17   QUALITY LOAN SERVICE
     CORPORATION OF WASHINGTON,
18   PHH MORTGAGE CORPORATION
     D/B/A PHH MORTGAGE SERVICES,
19   HSBC BANK USA, N.A., AS TRUSTEE
     OF THE FIELDSTONE MORTGAGE
20   INVESTMENT TRUST, SERIES 2006-2,
     NEWREZ, LLC, AND IH6 PROPERTY
21   WASHINGTON, L.P. D/B/A
     INVITATION HOMES
22

23                   Defendants.

24                   Pursuant to the Court’s February 8, 2021 Memorandum Decision and Order (ECF

25   No. 81 & 82), and pursuant to the parties’ Stipulation for Order Rescinding Trustee’s Sale, filed

26   April 20, 2021, this Court finds and orders as follows:

27

28    ORDER RESCINDING TRUSTEE’S SALE                                                      HOUSER LLP
      AP NO. 20-04002-MJH                                                   600 University St., Ste. 1708
      Page 1                                                                         Seattle, WA 98101
                                                                                    PH: (206) 596-7838
      Case 20-04002-MJH           Doc 124    Filed 04/20/21                       FAX: (206)Pg.
                                                                 Ent. 04/20/21 16:31:57         596-7839
                                                                                                   1 of 5
 1          1.        This action concerns real property (the “Property”) in Pierce County, Washington
 2   identified as follows:
         ADDRESS          18205 106TH STREET EAST
 3
                          BONNEY LAKE, WA 98391
 4      TAX PARCEL ID.    7001740030
        LEGAL DESCRIPTION LOT 3 PLAT OF CYRSTAL MEADOWS RECORDED MAY 14,
 5                        2004, UNDER RECORDING NO. 200405145003, RECORDS OF
                          PIERCE COUNTY, WASHINGTON. SITUATE IN THE CITY
 6                        OF BONNEY LAKE, COUNTY OF PIERCE, STATE OF
 7                        WASHINGTON

 8          2.        The Property was formerly owned by Ali Suleiman and was encumbered by a deed

 9   of trust (the “Deed of Trust”) executed by Ali Suleiman and held by HSBC Bank USA, National

10   Association, as Trustee of the Fieldstone Mortgage Investment Trust, Series 2006-2 (“HSBC”) and

11   recorded under Pierce County Recorder’s No. 200607310903.

12          3.        Quality Loan Service Corp. of Washington (“Quality”) was the trustee under the

13   Deed of Trust.

14          4.        On September 13, 2019, Quality auctioned the Property for sale pursuant to the

15   Deed of Trust’s power of sale (the “Trustee Sale”). IH6 Property Washington, L.P., a Delaware

16   Limited Partnership (“IH6”) was the winning bidder at the Trustee Sale for the sum of $356,000.00

17   (the “Sale Proceeds”). On or about September 17, 2019, Quality issued a trustee’s deed (the

18   “Trustee’s Deed”) to IH6 which was recorded under Pierce County Recorder’s No. 201909260566.

19          5.        Quality disbursed $188,549.34 of the Sale Proceeds to HSBC’s servicer PHH

20   Mortgage Corporation (“PHH”) for payment in full of the obligation secured by HSBC’s Deed of

21   Trust. The remaining sale proceeds of $167,407.96 were deposited in this Court’s registry pending

22   further order of this Court. (ECF No. 41.)

23          6.        On February 8, 2021, this Court issued a Memorandum Decision and Order on

24   Cross-Motions for Summary Judgment (ECF No. 81 & 82) ruling that the Trustee Sale violated the

25   bankruptcy automatic stay and is void, and ordering the parties to cooperate in unwinding the

26   Trustee Sale.

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 1          7.      Pursuant to this Court’s February 8, 2021 Memorandum and Order, the parties have
 2   filed a Stipulation for Order Rescinding Trustee’s Sale. In accord with the Stipulation, this Court
 3   ORDERS that:
 4                  (a) The parties are returned to their title positions as if the Trustee Sale never
 5                     occurred.
 6                  (b) The Trustee’s Deed to IH6 is canceled and void.
 7                  (c) HSBC’s Deed of Trust is reinstated as the first position lien against the Property
 8                     securing the loan repayment obligation described in the Deed of Trust.
 9                  (d) The Sale Proceeds shall be returned to IH6, as follows:
10                     (i) The Clerk of this Court is authorized and ordered to disburse the funds being
11                         held by the Court registry in the principal amount of $167,407.96, plus any
12                         accrued interest, to IH6 Property Washington, L.P., less any amount of
13                         Clerk’s fees. Such disbursal shall be made by check payable to IH6 Property
14                         Washington, L.P., and mailed to:
15                                   Schweet Linde & Coulson, PLLC
16                                   575 South Michigan Street
17                                   Seattle, WA 98108
18                     (ii) HSBC is ordered to return the Sale Proceeds in the amount of $188,549.34
19                         to IH6.
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21                                            ///End of Order///
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 1   PRESENTED BY:
 2   /s/ Emilie K. Edling
 3   Emilie K. Edling, WSBA #45042
     Attorney for PHH Mortgage Corporation, HSBC Bank USA, NA, as Trustee of the Fieldstone
 4   Mortgage Investment Trust, Series 2006-2, and NewRez, LLC

 5   /s/ Joseph Ward McIntosh
     Joseph Ward McIntosh, WSBA #39470
 6   Attorney for Quality Loan Service Corp. of Washington
 7
     /s/ Christina L Henry
 8   Christina L Henry, WSBA #31273
     Attorney for Sarah Hoover
 9
     /s/ Jason Anderson
10   Jason Anderson, WSBA #38014
     Attorney for Sarah Hoover
11

12   /s/ John McIntosh
     John McIntosh, WSBA #43113
13   Attorney for IH6 Property Washington LP dba Invitation Homes

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                                      CERTIFICATE OF SERVICE
 1
            On April 20, 2021, I served the foregoing document(s): ORDER RESCINDING
 2
     TRUSTEE’S SALE, in the manner described below:
 3
          Jason D. Anderson                             CM/ECF
 4        Anderson Law of King County, PLLC             UPS Overnight
          787 Maynard Ave S., Suite B                   UPS 2 Day Shipping
 5        Seattle,           WA          98104          Email
          Jason@alkc.net                                Courier
 6        Counsel for Plaintiff/Debtor
 7
          Christina L. Henry                            CM/ECF
 8        Henry & Degraaff, P.S.                        UPS Overnight
          787 Maynard Ave S., Suite B                   UPS 2 Day Shipping
 9        Seattle, WA 98104                             Email
          chenry@hdm-legal.com                          Courier
10        Counsel for Plaintiff/Debtor
11
          Joseph W. McIntosh                            CM/ECF
12        McCarthy & Holthus, LLP                       UPS Overnight
          108 1st Ave South, Suite 300                  UPS 2 Day Shipping
13        Seattle, WA 98104                             Email
          jmcintosh@mccarthyholthus.com                 Courier
14        Counsel for Quality Loan Service
15        Corporation of Washington

16        John A. McIntosh                              CM/ECF
          Schweet Linde & Coulson, PLLC                 UPS Overnight
17        575 S. Michigan St.                           UPS 2 Day Shipping
          Seattle, WA 98108                             Email
18        johnm@schweetlaw.com                          Courier
19        Counsel for IH6 Property Washington,
          L.P.
20          I declare under penalty of perjury under the laws of the United States of America that the
21   foregoing is true and correct.
22          Dated: April 20, 2021

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24                                                       Rachel M. Perez
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